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            EXHIBIT 26
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                                                                                           QUOTE INFORMATION
                                                                                           Statement Date:                                                    9/11/23
                                                                                           Payoff Good Through Date:                                          9/12/23
                                                                                           Loan Number:                                                          3661
                                                                                           Property Address:                                34811 OLD OCEAN CITY RD
RUBEN PALAZZO                                                                                                                                   PITTSVILLE, MD 21850
34811 OLD OCEAN CITY RD
PITTSVILLE, MD 21850
                                                                                      INTEREST
                                                                                      Annual Interest Rate                                                               4.000%
                                                                                      Interest Calculated From                                                 8/1/23 - 9/12/23

                                                                                      Daily Interest Amount *                                                            $11.93

PAYOFF BREAKDOWN
Current Unpaid Principal Balance                                 $108,832.88               HOW IS MY INTEREST CALCULATED?
Interest - from 8/1/23 to 9/12/23                                     $493.98           This is actually quite simple once you see how it works. Essentially, your
Lender Paid Expenses                                                   $19.77           annual interest rate, remaining balance, and days are distilled down into a
                                                                                        single number.
Expedited Delivery Fee                                                 $25.00
County Recording Fee                                                   $50.00           HOW IS MY DAILY INTEREST CALCULATED?
                                                                                        {upb} x {interest rate} / {365} x {number of days up to payoff date} =
                                                                                        daily interest due
                                                    $
TOTAL PAYOFF AMOUNT                                     109,421.63
                                             GOOD THROUGH 9/12/23                     *Funds received after the good through date 9/12/23 or funds that cannot be posted due to
                                                                                      missing or incorrect information will require an additional $11.93 of interest per day.



                                                                                      ESCROW
                                                                                      Escrow Account Balance                                                            $373.80
                                                                                      We will continue to make escrow disbursements up to the date of payoff. Please
                                                                                      note, this may be paid up to 30 days before the due date.
                                                                                      Expected Disbursements                                Due Date                   Amount
                                                                                      Hazard Insurance                                        6/18/24                 $1,705.00
                                                                                      County Tax                                             12/31/23                   $537.12
                                                                                      Town Tax                                                9/30/23                   $166.51




PAYMENT INSTRUCTIONS
Payoff funds must be remitted via certified funds (wire transfer's or cashier's check only)


WIRE TRANSFER                                                                             CASHIER'S CHECK
BENEFICIARY NAME:                                                   RIGHTPATH             Make payable to RightPath Servicing and mail to:
ACCOUNT #:                                                    46290004625703
ABA/ROUTING NUMBER:                                                 021000021             RightPath Servicing
BANK NAME:                                           JP Morgan Chase Bank, N.A.           Attn: Account Services
BANK ADDRESS:                                                     270 Park Ave            800 State Highway 121 Bypass
                                                            New York, NY 10017            Lewisville, TX 75067

                                                                                          *Customer Name, Loan Number, and Property Address should be provided on
                                                                                          all cashier's checks and correspondence




           CUSTOMER SERVICE                                                                   Monday - Friday 7 a.m. to 8 p.m. (CT)
           833-685-2589
           www.rightpathservicing.com



If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan) that
has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to collect a
debt from you personally.




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FREQUENTLY ASKED QUESTIONS

How is my Daily Interest Calculated?

Here's how we get there: Multiply your unpaid principal balance with your interest rate. This is the interest for your unpaid principal. Divide this by 365 days to get
your daily interest.

Should I continue to make my scheduled payments?

Yes, continue to make your scheduled payments. If your payoff payment is received after your payoff date and a payment has not been made, then a late charge
may be assessed and added to the payoff amount due. So, please don't stop payment prior to your payoff closing date. Note that if any payment previously made to
this account is returned for any reason, the payoff amount will be insufficient.

Which form of payment can I use for my payoff?

We only accept cashier's check or wire transfers for payoff payments. Other forms of payment that we cannot accept include: personal checks, third party checks,
attorney/trustee checks, money orders, ACH/ARC entries, direct deposit, internal bank-to-bank transfers, or others. Please note that additional fees, costs
disbursements, and interest may continue to accrue on the loan until the adequate payoff funds are received to satisfy the mortgage payoff. Additionally, delays can
occur when incorrect forms of payment are received.

When will my payment post?

Funds must be received by 5:00pm Central Standard Time (CST) for same day processing. Funds received after 5:00pm CST will be posted the following business
day.

What if I have set up AutoPay or direct pay?

Please ensure that you discontinue automatic payment services prior to the date of payoff and at least 3 business days prior to your draft date in an effort to avoid
any unnecessary withdrawals against your bank account. Note: If AutoPay is not cancelled and is still scheduled for AFTER the date of payoff, it will be automatically
cancelled.

What if I send in the wrong payoff amount?

If your payment is short and you have an escrow account that will cover the difference, then we will apply those funds towards the payoff. If you don’t have an
escrow account or the balance is not enough, then we will attempt to get in contact with the sending source to satisfy the payoff. Please note, if this falls after the
payoff date deadline or we cannot contact the sending source, then a refund of the total payment amount will be issued back to the original source. For this reason,
we encourage you to pay the amount that is stated on your payoff quote.
In the event of any overages, you will automatically receive a check for those differences once the account has been balanced out.

What if I have an escrow balance, can this be applied towards my payoff payment?

Yes, you may give us authorization to use your escrow balance. Or if your payoff payment is short of the final amount due and your account can cover the
difference, then your escrow balance will be applied. Please note that your escrow balance is subject to change.

What if there are extra funds in my escrow account after my payoff is completed?

Once your account is balanced out, we will automatically mail you the difference in a check. This is an automatic process and you do not need to request this check.

What if I move, do you need my updated address?

Yes, we will need your new address in order to send you refunds, year-end statements, and other documents pertaining to your loan and payoff.

How will I know that the payoff is complete and final?

Upon processing of payment in full, and within State specified guidelines, the necessary documents will be forwarded to the Trustee and/or County Recorder's Office
to release our lien. When applicable, and as mandated by state guidelines, any overpayment or remaining escrow funds will be disbursed off the loan no more than
20 business days after the payoff has occurred and will subsequently be mailed thereafter.
All payoff figures are subject to final verification of the mortgage lender. We may adjust any portion of this payoff statement, at any time, for the following reasons,
including but not limited to: escrow disbursements made on behalf of the loan holder(s), fee advances, items returned by your financial institution including
previously made payments, additional fees or charges, and any good faith and/or inadvertent clerical errors.




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